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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

STANFORD EARL PRITCHETT,                   )
#270677,                                   )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  )    CASE NO. 2:20-CV-644-WKW
                                           )              [WO]
WARDEN REOSHA BUTLER,                      )
GOVERNOR KAY IVEY, and                     )
COMMISSIONER JEFFERSON S.                  )
DUNN,                                      )
                                           )
              Defendants.                  )

                                     ORDER

      Plaintiff, an inmate confined at the Ventress Correctional Facility, recently

initiated this 42 U.S.C. § 1983 action. Prior to service of the complaint, Plaintiff

filed a Motion for Leave to Dismiss in which he seeks dismissal of this case under

Rule 41(a) of the Federal Rules of Civil Procedure. (Doc. #5.) The motion is

CONSTRUED as a Notice of Voluntary Dismissal.

      Under Rule 41(a)(1)(A)(i), voluntary dismissal by a plaintiff is permitted

“before the opposing party serves either an answer or a motion for summary

judgment . . . .” Such dismissal is “without prejudice.” Fed. R. Civ. P. 41(a)(1)(B).

      Accordingly, Plaintiff’s action against Defendants has been dismissed without

prejudice by operation of Rule 41(a)(1).
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The Clerk of the Court is DIRECTED to close this case.

DONE this 2nd day of October, 2020.

                                           /s/ W. Keith Watkins
                                     UNITED STATES DISTRICT JUDGE




                                 2
